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 6
     Attorneys for Plaintiff
 7   United States of America

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10                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12    UNITED STATES OF AMERICA,                        No. 1:15-CR-00329 DAD
13                                  Plaintiff,
14                           v.                     STIPULATION TO CONTINUE SENTENCING
15    JESSE MENDOZA,
16                                 Defendant.
17

18
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
19
     Attorney and Kimberly A. Sanchez, Assistant U.S. Attorney and Anthony Capozzi, attorney for
20
     defendant, that the sentencing set for, February 11, 2019, at 10:00 am before the Honorable Dale
21
     A. Drozd, U.S. District Court Judge, be continued to February 25, 2019 at 10:00 a.m. Ms.
22
     Alsworth, who is handling this matter, has been out of the office for an extended period of time
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 1   due to a family emergency, and needs additional time to review the Presentence Report and

 2   submit informal objections, if appropriate. Defense does not object to this request.

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     Dated: January 23, 2019                               Respectfully submitted,
 6
                                                           McGREGOR W. SCOTT
 7                                                         United States Attorney

 8                                                By       /s/ Kimberly A. Sanchez
                                                           KIMBERLY A. SANCHEZ
 9                                                         Assistant U.S. Attorney

10   Dated: January 23, 2019                               /s/ Anthony Capozzi
                                                           ANTHONY CAPOZZI
11                                                         Attorney for Defendant

12

13                                               ORDER

14          For the reasons stated in the parties’ stipulation, the sentencing hearing scheduled for
15   Feburary 11, 2019, at 10:00 a.m. is hereby continued to Feburary 25, 2019 at 10:00 a.m.
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     IT IS SO ORDERED.
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        Dated:     January 23, 2019
18                                                     UNITED STATES DISTRICT JUDGE
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